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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Chasity Watkins
                                       Plaintiff,
v.                                                      Case No.: 1:18−cv−04142
                                                        Honorable Thomas M. Durkin
United States of America, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 2, 2022:


        MINUTE entry before the Honorable Thomas M. Durkin: Uncontested motion to
remand [223] is granted. This case is to be remanded to the Circuit Court of Cook
County,County Department, Law Division forthwith. Civil case terminated. Mailed
notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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